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IN THE UNITED sTATEs DISTRICT coURT FOR THE§`~//_;;/ , ""\.;{?/j)
wEsTERN DISTRICT OF TENNESSEE '
EASTERN DIVISION

 

UNITED STATES OF AMERICA

VS. CR NO. l:Ol-lOO34-Ol-T

LARRY W. CARTER

ORDER GR.ANTING PETITION TO MODIFY CONDITIONS OF RELEASE

This cause came on to be heard on July 12, 2005, pursuant to
the Petition to modify the conditions of the defendant's supervised
release. After hearing statements from counsel, the Court found
reason to grant the Petition.

IT IS THEREFORE ORDERED that the defendant's Conditions of
release are modified as follows: The defendant shall participate
as directed in a program of mental health treatment, including a
sexual offender treatment program.and evaluation.as approved.by the
Probation Officer. The defendant shall abide by the rules,
requirements, and conditions of the treatment program, including
submitting to polygraph testing, to aid in the treatment and
supervision process approved by the Probation Officer

IT IS SO ORDERED.

AA.Q»¢M

J s Df T'oDD
TED sTATEs DISTRICT JUDGE

DATE: / 3 QMA£VL 516 z 5
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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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This notice confirms a copy of the document docketed as number 71 in
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US DISTRICT COURT

